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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address
 Christopher B. Ghio (State Bar No. 259094)
 christopher.ghio@dinsmore.com
 Yosina M. Lissebeck (State Bar No. 201654)
 yosina.lissebeck@dinsmore.com
 DINSMORE & SHOHL LLP
 655 West Broadway, Suite 800
 San Diego, CA 92101
 Telephone: 619.400.0500
 Facsimile: 619.400.0501




        Individual appearing without attorney
        Attorney for: Richard A. Marshack, Chapter 11 Trustee

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                       DIVISION

 In re:                                                                       CASE NO.: 8:23-BK-10571-SC
THE LITIGATION PRACTICE GROUP, P.C.                                           CHAPTER: 11

                                                                              NOTICE OF MOTION FOR:
                                                                              HEARING ON NOTICE OF POTENTIAL ASSUMPTION
                                                                              AND ASSIGNMENT TO COUNTERPARTIES TO
                                                                              EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                              OF THE LITIGATION PRACTICE GROUP, P.C. -
                                                                              OPERATING CONTRACTS


                                                                              (Specify name of Motion)

                                                                              DATE: 09/27/2023
                                                                              TIME: 1:30 pm
                                                                                               1
                                                                              COURTROOM: 5C
                                                                              PLACE: 411 West Fourth Street
                                                                                        Santa Ana, CA 92701
                                                               Debtor(s).

                       TO ALL OPERATING CONTRACT PARTIES AND ALL OTHER PARTIES IN INTEREST
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)

    1
        Video and audio connection information for each hearing will be provided on Judge Clarkson's publicly posted hearing calendar, which
        may be viewed online at: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.

            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 09/06/2023                                                               DINSMORE & SHOHL, LLP
                                                                               Printed name of law firm




                                                                               /s/ Yosina M. Lissebeck
                                                                                Signature


                                                                               Yosina M. Lissebeck
                                                                               Printed name of attorney




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  1 Christopher B. Ghio (State Bar No. 259094)
    Christopher Celentino (State Bar No. 131688)
  2 Yosina M. Lissebeck (State Bar No. 201654)
    DINSMORE & SHOHL LLP
  3 655 West Broadway, Suite 800
    San Diego, CA 92101
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  5 christopher.ghio@dinsmore.com
    christopher.celentino@dinsmore.com
  6 yosina.lissebeck@dinsmore.com

  7 Special Counsel to Richard A. Marshack, Chapter 11 Trustee

  8

  9                                  UNITED STATES BANKRUPTCY COURT
 10                    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 11

 12       In re:                                                Chapter 11
 13       THE LITIGATION PRACTICE GROUP,                        Case No. 8:23-bk-10571-SC
          P.C.,
 14                                                            NOTICE OF POTENTIAL ASSUMPTION
                                                               AND ASSIGNMENT TO
 15                Debtor.                                     COUNTERPARTIES TO EXECUTORY
                                                               CONTRACTS AND UNEXPIRED LEASES
 16                                                            OF THE LITIGATION PRACTICE
                                                               GROUP, P.C. – OPERATING
 17                                                            CONTRACTS
 18                                                            Assumption Hearing
 19                                                            Date:     September 27, 2023
                                                               Time:     1:30 p.m. (Pacific Time)
 20                                                            Location: Courtroom 5C1
                                                                         411 West Fourth Street
 21                                                                      Santa Ana, CA 92701
 22

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 28   1
       Video and audio connection information for each hearing will be provided on Judge Clarkson's publicly posted hearing
      calendar, which may be viewed online at: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
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  2              PLEASE TAKE NOTICE that on August 2, 2023, the Court entered an order [Dkt. No. 352]

  3 (the "Sale Order") approving the sale of substantially all of the assets of the Litigation Practice Group,

  4 P.C. (the "Debtor") to Morning Law Group PC (the "Buyer"), pursuant to the terms of that certain

  5 Asset Purchase Agreement (the "APA"). As set forth more fully in the Sale Order, the Court approved

  6 procedures for the assumption by the Debtor and assignment to the Buyer of certain executory

  7 contracts and unexpired leases (the "Potentially Assumed Agreements"), pursuant to § 365 of title 11

  8 of the United States Code (the "Bankruptcy Code").2 The Potentially Assumed Agreements are

  9 described in Exhibit "A" attached to this Notice. These Contracts represent operating contracts, and
 10 DO NOT include the CLIENT CONSUMER CONTRACTS. Further notices related to CLIENT

 11 CONSUMER CONTRACTS will be filed at a later date. The amount shown on Exhibit "A" with

 12 respect to each Potentially Assumed Agreement is the "Cure Amount," which is the amount (if any)

 13 the chapter 11 trustee (the "Trustee") asserts is owed to cure any defaults existing under a Potentially

 14 Assumed Agreement. The Potentially Assumed Agreements are those contracts and leases that the

 15 Trustee believes may be assumed and assigned as part of the orderly transfer of assets under the APA;

 16 however, the Buyer may choose to exclude certain of the Potentially Assumed Agreements from the

 17 list of executory contracts and unexpired leases that are ultimately assumed and assigned under the

 18 APA, as provided for in the APA. Removal of a Potentially Assumed Agreement from this list will

 19 remove it from the Assumed Agreements being assigned to Buyer. You may be a party to a Potentially
 20 Assumed Agreement and should carefully review this Notice in its entirety. If you signed a contract

 21 with Litigation Practice Group, this Notice may affect you. Please read this notice and the

 22 attached Exhibit A carefully, and please seek legal counsel if you do not understand the Notice.

 23 If none of them would be affected by this Ex A, then no need to add.

 24              PLEASE TAKE FURTHER NOTICE that if you object to the assumption and assignment

 25 of your Potentially Assumed Agreement (including an objection based on adequate assurance of future

 26 performance by the Buyer under the Potentially Assumed Agreement) or if you disagree with the Cure

 27 Amount shown for your Potentially Assumed Agreement on Exhibit "A" to which you are a party, you

 28
      2
          Unless otherwise defined herein, all references to "Section" or "§" refer to a section of the Bankruptcy Code.

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  1 must file in writing with the United States Bankruptcy Court for the Central District of California, 411

  2 West Fourth Street, Santa Ana, CA 92701, an objection (an "Assumption Objection") on or before

  3 September 13, 2023 at 5:00 p.m. (prevailing Pacific Time). Any Assumption Objection must set

  4 forth the specific default or defaults alleged and set forth any cure amount as alleged by you. If a

  5 Potentially Assumed Agreement is assumed and assigned pursuant to a Court order approving same,

  6 then unless you have filed an Assumption Objection, you will be paid the Cure Amount set forth

  7 herein, if any, and Buyer will assume (take over) your Agreement. Any counterparty to a Potentially

  8 Assumed Agreement that fails to timely file and serve an Assumption Objection shall be forever barred

  9 from asserting that a Cure Amount is owed in an amount in excess of the amount, if any, set forth in
 10 the attached "Exhibit A."

 11          Any Assumption Objection must be filed with the Court and actually received by the

 12 Assumption Notice Parties (defined below) by no later than September 13, 2023 at 5:00 p.m.

 13 (prevailing Pacific Time).

 14          PLEASE TAKE FURTHER NOTICE that any Assumption Objection you may file must be

 15 served on the following parties ("Assumption Notice Parties") not later than the applicable Assumption

 16 Objection Deadline: (i) general counsel to the Trustee: Marshack Hays LLP, 870 Roosevelt, Irvine,

 17 California 92620 (Attn: D. Edward Hays (ehays@marshackhays.com) and Laila Masud

 18 (lmasud@marshackhays.com)); (ii) special counsel to the Trustee: Dinsmore & Shohl LLP, 655 West
 19 Broadway,        Suite   800,   San   Diego,   California   92101     (Attn:   Christopher   B.    Ghio

 20 (christopher.ghio@dinsmore.com)); (iii) counsel to the Official Committee of Unsecured Creditors:

 21 Fox Rothschild LLP, 10250 Constellation Boulevard, Suite 900, Los Angeles, California 90067 (Attn:

 22 Keith       C.      Owens       (kowens@foxrothschild.com)        &      Nicholas      A.       Koffroth

 23 (nkoffroth@foxrothschild.com) ; (iv) counsel to the Buyer: Danning, Gill, Israel & Krasnoff, LLP,

 24 1901 Avenue of the Stars, Suite 450                     Los Angeles CA 90067-6006; Attn: Zev

 25 Shechtman(zs@DanningGill.com) and Buyer Joshua Armstrong, INVICTUS ADVISORS LLP, 2625

 26 Townsgate Road, Suite 330, Westlake Village, CA 91361 (jarmstrong@invictusadvisors.com) (v) the

 27 Monitor, Nancy Rapoport, at nancy.rapoport@unlv.edu; and (vi) the Office of the United States

 28 ///

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  1 Trustee ("U.S. Trustee"): 411 West Fourth Street, Suite 7160, Santa Ana, CA 92701 (Attn: Kenneth

  2 M. Misken (Kenneth.M.Misken@usdoj.gov).

  3           PLEASE TAKE FURTHER NOTICE that the Buyer shall be responsible for satisfying any

  4 requirements regarding adequate assurance of future performance that may be imposed under §§

  5 365(b) and (f) in connection with the proposed assignment of any Potentially Assumed Agreement.

  6 The Court shall hold a hearing on September 27, 2023 at 1:30 p.m. (prevailing Pacific Time) at 411

  7 West Fourth Street, Santa Ana, CA 92701, in Courtroom 5C or via ZoomGov, (the "Assumption

  8 Hearing") on any Objections and make its determinations concerning, among other things, §§ 365(b)

  9 and (f), including the adequacy of any proposed Cure Amount and adequate assurance of future
 10 performance under the Potentially Assumed Agreements. Parties wishing to make an appearance by

 11 Zoom for Government, a free service that provides audioconference capabilities, should review the

 12 Court's        tentative      rulings      page,      which       can       be      accessed       through

 13 https://www.cacb.uscourts.gov/judges/honorable-scott-c-clarkson. Parties should also consult the

 14 NOTICE OF VIDEO AND TELEPHONIC APPEARANCE PROCEDURES FOR JUDGE SCOTT

 15 CLARKSON'S CASES for specific procedures and further information.

 16           PLEASE TAKE FURTHER NOTICE (i) that Objections may be resolved by the Court at

 17 the Assumption Hearing, (ii) except to the extent otherwise provided in the APA with the Buyer,

 18 pursuant to § 365(k), the Debtor and its estate shall be relieved of all liability accruing or arising after
 19 the effective date of assumption and assignment of the Potentially Assumed Agreements, and (iii)

 20 nothing contained herein shall obligate the Trustee or the Debtor's estate to assume any Potentially

 21 Assumed Agreement or to pay any Cure Amount.

 22           PLEASE TAKE FURTHER NOTICE THAT IF YOU DO NOT TIMELY FILE AND

 23 SERVE AN ASSUMPTION OBJECTION AS STATED ABOVE, THE COURT MAY

 24 APPROVE ASSUMPTION AND ASSIGNMENT OF THE POTENTIALLY ASSUMED

 25 AGREEMENTS WITH NO FURTHER NOTICE.

 26 ///

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  1        ANY COUNTERPARTY TO ANY POTENTIALLY ASSUMED AGREEMENT WHO

  2 DOES NOT FILE A TIMELY ASSUMPTION OBJECTION TO THE CURE AMOUNT FOR

  3 SUCH POTENTIALLY ASSUMED AGREEMENT IS DEEMED TO HAVE CONSENTED

  4 TO SUCH CURE AMOUNT.

  5

  6 Dated: September 6, 2023              Respectfully submitted,

  7                                       DINSMORE & SHOHL LLP

  8

  9                                       By: /s/ Yosina M. Lissebeck
                                              Special Counsel to Richard A. Marshack,
 10                                           Chapter 11 Trustee
 11

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  1
                                            EXHIBIT "A"
  2
               Schedule of Potentially Assumed Contracts – Cure Amounts
  3

  4                       CONTRACT                                          CURE AMOUNT
       Google Workspaces (Phoenix and Maverick email      Trustee informed and believes that there is no cure
  5    hosting)                                           amount for these contracts
       1600 Amphitheatre Pkwy
  6    Mountain View, CA 94043

  7    Zoom (phone services)                              Trustee informed and believes that there is no cure
       55 Almaden Blvd, Suite 600                         amount for these contracts
  8    San Jose, CA, 95113

  9    Amazon Web Services (AWS)                          Trustee informed and believes that there is no cure
       410 Terry Avenue North                             amount for these contracts
 10    Seattle, WA 98109-5210

 11        - Luna
           - LPG
 12        -
       BoldSign                                           Trustee informed and believes that there is no cure
 13    2501 Aerial Center Parkway, Suite 111              amount for these contracts
       Morrisville, NC 27560
 14
       SendGrid (Twilio)                                  Trustee informed and believes that there is no cure
 15    101 Spear Street, First Floor                      amount for these contracts
       San Francisco, CA 94105
 16
       WorldPay                                           Trustee informed and believes that there is no cure
 17    C/O FIS Global                                     amount for these contracts
       347 Riverside Ave
 18    Jacksonville, FL 32204

 19    Revolv3, Inc.                                      Trustee informed and believes that there is no cure
       381 Forest Ave C                                   amount for these contracts
 20    Laguna Beach, CA 92651

 21    Brivo (Security system - fobs for doors)           Trustee informed and believes that there is no cure
       7700 Old Georgetown Road, Suite 300                amount for these contracts
 22    Bethesda MD, 20814 USA

 23    Quickbooks – Data Only                             Trustee informed and believes that there is no cure
       448 Fairchild Dr                                   amount for these contracts
 24    Mountain View, CA 94043
 25

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                                                                                       EXHIBIT "A"
                                                                                            Page 5
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled NOTICE OF MOTION FOR (specify name of
motion) Hearing on Notice of Potential Assumption and Assignment to Counterparties to Executory
Contracts and Unexpired Leases of the Litigation Practice Group, P.C. Operating Contracts

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On September 6, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On September 6, 2023, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on September 6,
2023, I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

                   JUDGE'S COPY - VIA FEDEX
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  September 6, 2023                 Caron Burke                                          /s/ Caron Burke
  Date                          Printed Name                                             Signature




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August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Eric Bensamochan on behalf of Creditor Affirma, LLC
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Creditor Oxford Knox, LLC
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Interested Party Courtesy NEF
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Interested Party Eric Bensamochan
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Peter W Bowie on behalf of Trustee Richard A Marshack (TR)
        peter.bowie@dinsmore.com, caron.burke@dinsmore.com

        Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
        ron@rkbrownlaw.com

        Christopher Celentino on behalf of Plaintiff Richard A. Marshack
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Michael F Chekian on behalf of Interested Party Michael Chekian
        mike@cheklaw.com, chekianmr84018@notify.bestcase.com

        Shawn M Christianson on behalf of Interested Party Courtesy NEF
        cmcintire@buchalter.com, schristianson@buchalter.com

        Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
        rbc@randallbclark.com

        Leslie A Cohen on behalf of Interested Party Courtesy NEF
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Aaron E. DE Leest on behalf of Interested Party Courtesy NEF
        adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

        Jenny L Doling on behalf of Interested Party INTERESTED PARTY
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Jenny L Doling on behalf of Interested Party National Association of Consumer Bankruptcy Attorneys
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Jenny L Doling on behalf of Interested Party National Consumer Bankruptcy Rights Center
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Daniel A Edelman on behalf of Creditor Carolyn Beech
        dedelman@edcombs.com, courtecl@edcombs.com

        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
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August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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        christopher.ghio@dinsmore.com, nicolette.murphy@dinsmore.com;karina.reyes@dinsmore.com

        Christopher Ghio on behalf of Trustee Richard A Marshack (TR)
        christopher.ghio@dinsmore.com, nicolette.murphy@dinsmore.com;karina.reyes@dinsmore.com

        Eric D Goldberg on behalf of Defendant Stripe, Inc.
        eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com

        Jeffrey I Golden on behalf of Creditor Affirma, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeff
        reyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Creditor Anaheim Arena Management, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeff
        reyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Creditor Anaheim Ducks Hockey Club, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeff
        reyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Creditor Oxford Knox, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeff
        reyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Interested Party Courtesy NEF
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeff
        reyi.b117954@notify.bestcase.com

        Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        David M Goodrich on behalf of Interested Party Courtesy NEF
        dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com

        D Edward Hays on behalf of Interested Party Courtesy NEF
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
        ecf.courtdrive.com

        D Edward Hays on behalf of Trustee Richard A Marshack (TR)
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
        ecf.courtdrive.com

        Alan Craig Hochheiser on behalf of Creditor City Capital NY
        ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

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June 2012                                                                        F 9013-.1.PROOF.SERVICE
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        Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Razmig Izakelian on behalf of Creditor OHP-CDR, LP
        razmigizakelian@quinnemanuel.com

        Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
        joon@khanglaw.com

        Ira David Kharasch on behalf of Interested Party Ad Hoc Consumer Claimants Committee
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Interested Party Courtesy NEF
        ikharasch@pszjlaw.com

        Meredith King on behalf of Defendant Gallant Law Group
        mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law

        Meredith King on behalf of Interested Party Courtesy NEF
        mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law

        Nicholas A Koffroth on behalf of Creditor Committee Committee of Unsecured Creditors
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        David S Kupetz on behalf of Defendant Marich Bein, LLC
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2.      SERVED BY UNITED STATES MAIL:

        Google Workspaces (
        1600 Amphitheatre Pkwy
        Mountain View, CA 94043

        Zoom (phone services)
        55 Almaden Blvd, Suite 600
        San Jose, CA, 95113

        Amazon Web Services (AWS)
        410 Terry Avenue North
        Seattle, WA 98109-5210

        BoldSign
        2501 Aerial Center Parkway, Suite 111
        Morrisville, NC 27560

        SendGrid (Twilio)
        101 Spear Street, First Floor
        San Francisco, CA 94105

        WorldPay
        C/O FIS Global
        347 Riverside Ave
        Jacksonville, FL 32204

        Revolv3, Inc.
        381 Forest Ave C
        Laguna Beach, CA 92651

        Brivo (Security system - fobs for doors)
        7700 Old Georgetown Road, Suite 300
        Bethesda MD, 20814 USA

        Quickbooks - Data Only
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        Mountain View, CA 94043




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